Case 2:20-cv-11060-NGE-RSW ECF No. 88, PageID.10690 Filed 05/16/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 MELVIN DAVIS, et al.,

               Plaintiffs,                               No. 20-11060

 v.                                                      Honorable Nancy G. Edmunds

 MAGNA INTERNATIONAL OF AMERICA, INC.,
      et al.
             Defendants.
 _________________________________/


      ORDER GRANTING IN PART PLAINTIFFS’ MOTION TO NAME NEW CLASS
                         REPRESENTATIVES [81]

        This matter is before the Court on Plaintiffs’ motion to name new class

 representatives. (ECF No. 81.) Defendants filed a response. (ECF No. 84.)

        On March 27, 2023 this court issued an opinion and order denying without

 prejudice Plaintiffs’ motion for class certification and granting Plaintiffs 30 days to name

 new class representatives. (ECF No. 79.) Plaintiffs now move to amend their complaint

 to name the four new class representatives: Scott E. Vollmar, Cory L. Harris, Bobby R.

 Garrett, III, and Gracie Mercer. (ECF No. 81.) Plaintiffs submitted declarations by each

 proposed plaintiff in support of their adequacy to be a named representative.

        Defendants do not oppose amending the Complaint to join these four new

 plaintiffs. They do, however, oppose a determination prior to discovery that these four




                                              1
Case 2:20-cv-11060-NGE-RSW ECF No. 88, PageID.10691 Filed 05/16/23 Page 2 of 2




 individuals are adequate representatives pursuant to Fed. R. Civ. P. 23(a)(4). The Court

 agrees that the parties should conduct discovery as to these individuals.

       IT IS THEREFORE ORDERED that Plaintiffs’ motion to name new class

 representatives (ECF No. 81) is granted in part and Plaintiffs may file a First Amended

 Complaint naming these four additional parties. The motion is denied to the extent that it

 prematurely seeks a determination that these individuals are adequate representatives

 under Fed. R. Civ. P. 23. The parties shall submit within 3 days a joint scheduling order

 for expedited discovery and briefing related to these new plaintiffs, with all discovery,

 motion for class certification and response to be completed by June 30.

       SO ORDERED.

                                   s/Nancy G. Edmunds
                                   Nancy G. Edmunds
                                   United States District Judge

 Dated: May 16, 2023

 I hereby certify that a copy of the foregoing document was served upon counsel of record
 on May 16, 2023, by electronic and/or ordinary mail.

                                   s/Lisa Bartlett
                                   Case Manager




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